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                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION
                                   :
In re:                             :
                                   :
    John Keith Owens               :  Case No.: 18-06914
                                   :  Chapter 7
       Debtor.                     :  Judge James M. Carr
                                   :  *********************
                                   :


   MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF
  PROPERTY BECAUSE STATEMENT OF INTENT PROPOSES SURRENDER OF
  PROPERTY AND NOTICE OF OBJECTION DEADLINE WITH 30-DAY WAIVER
                        (FIRST MORTGAGE)

The creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, hereby moves the Court, pursuant to

11 U.S.C. § 362(d) and § 554, to lift the automatic stay and abandon from the estate the

following real property:

            15224 Massey RD, Hagerstown, IN 47346-9734, (hereinafter the "Property").

In support of the motion, the Creditor states the following:

       1.       John Keith Owens (hereinafter ''Debtor'') filed a Chapter 7 case on September 7,

2018, (hereinafter the "Petition Date").

       2.       As of the Petition Date, the Creditor was the holder of a claim secured by the

Property, more particularly described in the Mortgage, a copy of which is attached as Exhibit

"A".

       3.       The above described Mortgage was given to secure a promissory note,

(hereinafter the "Note"), dated April 26, 2012 and made payable to the Creditor in the original

sum of $56,741.00. A copy of the Note is attached hereto as Exhibit "B".




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       4.        The Creditor perfected an interest in the Property, more particularly described in

the Mortgage, recorded in Wayne County Recordings Office on May 17, 2012. Evidence of

perfection is attached as Exhibit "A".

       5.        Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,

judgments, mortgages, and security agreements in support of right to seek a lift of the automatic

stay and foreclose if necessary.

       6.        As of September 11, 2018, the outstanding principal of the Note was $51,239.85

and the outstanding interest was $2,039.83. As of September 11, 2018, the approximate payoff

of the loan in question, consisting of the outstanding principal, interest, escrow advances, fees

and costs, less suspense, is $55,737.69.

       7.        The Property is burdensome and/or of inconsequential value and benefit to the

estate. Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for

these reasons:

       a.        Debtor has no equity in the Property. Creditor believes that the Property has a
                 value of $51,400.00 based on the 2017 Assessor's tax record, which is attached
                 hereto as Exhibit "C". The balance on Creditor's first mortgage exceeds the value
                 of the Property. Based upon the lack of equity in the Property, Creditor asserts
                 that the Property is burdensome and/or of inconsequential value and benefit to the
                 estate.

       b.        The Creditor is not being adequately protected. Per the Note and Mortgage,
                 payments are applied to the last month due. Based on the foregoing, Debtor has
                 failed to make periodic payments to Creditor since December 1, 2017 through
                 October 2018.

       c.        Debtor intends to surrender the Property located at 15224 Massey RD,
                 Hagerstown, IN 47346-9734 according to the Statement of Intent filed.




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       8.      The Creditor hereby waives the right under 11 U.S.C. § 362(e) to a hearing on this

motion within thirty (30) days of the date it is filed. Creditor, by counsel, further prays that the

fourteen (14) day stay of the order imposed by Bankruptcy Rule 4001(a)(3) be waived.

PLEASE TAKE NOTICE THAT any objection must be filed with the Bankruptcy Clerk

within 14 days of the date of this notice. Those not required or not permitted to file

electronically must deliver any objection by U.S. mail, courier, overnight/express mail or in

person at:

                                   Indianapolis
                                   116 U.S. Courthouse, 46 E. Ohio St.
                                   Indianapolis, IN 46204

The objecting party must ensure delivery of the objection to the party filing the motion. If an

objection is NOT timely filed, the requested relief and abandonment may be granted.

       WHEREFORE, the Creditor moves the Court to enter an order lifting the automatic stay

and abandoning the Property, and granting such other relief as appropriate.

                                                       Respectfully submitted,

                                                          /s/ Sarah E. Barngrover
                                                       Sarah E. Barngrover (28840-64)
                                                       Edward H. Cahill (0088985)
                                                       Adam B. Hall (0088234)
                                                       John R. Cummins (11532-10)
                                                       Amy E. Gardner (93532)
                                                       Manley Deas Kochalski LLC
                                                       P.O. Box 165028
                                                       Columbus, OH 43216-5028
                                                       614-220-5611; Fax: 614-627-8181
                                                       Attorney for Creditor
                                                       The case attorney for this file is Sarah E.
                                                       Barngrover.
                                                       Contact email is
                                                       sebarngrover@manleydeas.com




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on the parties listed below via e-mail notification:

   U.S. Trustee, 101 W. Ohio St.. Ste. 1000, Indianapolis, IN 46204, 317-226-6101

   Richard E. Boston, Office of Richard E. Boston, 27 N 8th St, Richmond, IN 47374,
   rebch7@bbkcc.com;melaniec@bbkcc.com

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on all parties listed on the attached creditor matrix via regular U.S. Mail, postage prepaid on

         08 2018.
October ___,


                                                              /s/ Sarah E. Barngrover




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